960 F.2d 154
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Marcosa N. EDROSALAM, Petitioner,v.SECRETARY, DEPARTMENT OF VETERANS AFFAIRS, Respondent.
    No. 91-7043.
    United States Court of Appeals, Federal Circuit.
    Feb. 28, 1992.
    
      Before PLAGER, Circuit Judge, COWEN, Senior Circuit Judge, and LOURIE, Circuit Judge.
      ORDER
      PLAGER, Circuit Judge.
    
    
      1
      The Secretary of the Department of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(d) and to dismiss Marcosa N. Edrosalam's petition for review for lack of jurisdiction.   Edrosalam has not filed a response.
    
    
      2
      The Veterans Administration regional office determined that Edrosalam had been overpaid for benefits in the amount of $42,749.67.   Edrosalam sought a waiver of the collection of her remaining debt and refund of deductions made after December 31, 1990 "for humanitarian reasons."   On January 29, 1991, the VA regional office denied Edrosalam's claim.
    
    
      3
      This court does not have jurisdiction to review Edrosalam's petition.   Pursuant to the Veterans' Judicial Review Act of 1988, this court may review decisions of the Court of Veterans Appeals, 38 U.S.C. 7292, and may review certain actions of the Secretary.  38 U.S.C. 502.   With regard to the former, Edrosalam is not seeking review of a decision of the Court of Veterans Appeals.   With regard to the latter, judicial review is limited to the Secretary's actions concerning the promulgation or publication of agency rules and regulations.   Edrosalam is not challenging the promulgation or publication of agency rules or regulations.
    
    
      4
      Accordingly,
    
    IT IS ORDERED THAT:
    
      5
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(d) is granted.
    
    
      6
      (2) The Secretary's motion to dismiss is granted.
    
    